      Case 6:14-cv-06719-FPG-MJP Document 110 Filed 01/29/21 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK

_____________________________________________


CARLOS A. SANTIAGO,
                                                           AMENDED
                                Plaintiff,            SCHEDULING ORDER
                                                      14-CV-6719 FPG/MJP
vs.

SHAWN JORDAN, et al.,

                                Defendant.

_____________________________________________


       A conference having been held with the parties on January 27, 2021, in which

certain deadlines contained in the Court’s previously issued scheduling order were

amended, therefore, it is:

       ORDERED that:

       1. All document discovery in this case shall be completed on or before

          April 30, 2021. Plaintiff is to provide authorizations by February 12,

          2021, and interrogatories by March 1, 2021.

       2. All motions to compel discovery shall be filed by March 31, 2021.

       3. All factual witness depositions shall be completed on or before July 30,

          2021.

       4. Plaintiff shall identify any expert witnesses and provide reports pursuant

          to Fed. R. Civ. P. 26 by October 1, 2021.
Case 6:14-cv-06719-FPG-MJP Document 110 Filed 01/29/21 Page 2 of 4




 5. Defendants shall identify any expert witnesses and provide reports

    pursuant to Fed. R. Civ. P. 26 by November 1, 2021.

 6. All parties shall complete all discovery relating to experts, including

    depositions, by December 31, 2021.

 7. Dispositive motions, if any, shall be filed no later than February 28,

    2022. Unless a consent to proceed before this Court is filed, such motions

    shall be made returnable before Judge Geraci.

 8. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

    Local Rule 16 will be held, if necessary, at a date and time to be

    determined by the trial judge after determination of dispositive motions.

    If no dispositive motions are filed, counsel shall immediately contact the

    trial judge so that a trial date status conference can be scheduled.

    At least seven (7) days prior to the trial date status conference, the parties

    shall file a joint case status report setting forth the information described

    below. If the parties disagree as to the information to be provided, the

    report must set forth their different responses. The joint status report

    shall contain:




                                     2
Case 6:14-cv-06719-FPG-MJP Document 110 Filed 01/29/21 Page 3 of 4




       a. Nature of the Case: Set forth a brief description of the action,

          identifying the parties, all counsel of record, the relief requested,

          any affirmative defenses and any relationship the case may have to

          other pending actions.

       b. Motion Practice: Are any motions, dispositive or non-dispositive,

          pending? If so, briefly describe the motion. Explain if additional

          motion practice is necessary before the matter is ready to be tried.

       c. Settlement: Describe the status of settlement negotiations. If the

          parties believe a court supervised settlement/mediation conference

          would be of assistance in resolving the case or narrowing disputed

          issues, please state.

       d. Trial: State whether the case is ready for trial. If not, explain why.

          Set forth an estimate of how long the trial will take and whether

          the case is jury or non-jury.

 9. Requests to extend the above cut-off dates may be granted upon written

    application, made prior to the cutoff date, and showing good cause for the

    extension. Application for extensions should be made to the Magistrate

    Judge. Joint or unopposed requests to extend the deadlines set forth in

    this order need not be made by formal motion, but rather may be sought

    in a letter to the court. Letter requests must detail good cause for the

    extension and propose new deadlines.




                                    3
   Case 6:14-cv-06719-FPG-MJP Document 110 Filed 01/29/21 Page 4 of 4




    10. The Court requires that should any discovery dispute arise between the

         parties that a letter be sent to the Court detailing the dispute prior to any

         motion practice.

SO ORDERED.

DATED:      January 27, 2021
            Rochester, New York
                                              __________________________________
                                              MARK W. PEDERSEN
                                              United States Magistrate Judge




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